       Case 5:14-cr-40005-DDC          Document 669        Filed 02/18/16     Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                   Case No. 14-40005-DDC

MICHELLE REULET (3),

        Defendant.


                               MEMORANDUM AND ORDER

         This case comes before the Court on defendant Michelle Reulet’s counsel’s unopposed

Motion to Withdraw (Doc. 656). The Court grants this motion in part, but defers ruling on one

aspect of it.

        Mr. Reynal and local counsel Mr. Bainum have moved to withdraw as Ms. Reulet’s

counsel because the government may call one of Mr. Reynal’s former clients as a witness. On

January 19, 2016, the morning scheduled for trial to begin, Mr. Reynal informed the Court that

he had consulted with ethics counsel over the weekend about his former representation of this

witness and ethically could not cross-examine him if, in fact, the government called him as a

witness. See Doc. 635 at 24 (Transcript of Pretrial Hearing). The concerns implicated by Mr.

Reynal’s disclosure led the Court to vacate the trial date so that the government could

memorialize an oral motion asking the Court to disqualify Mr. Reynal.

        The government filed two motions after the developments on January 19, a Motion to

Appoint Conflict Counsel and to Unseal Waiver Colloquies (Doc. 643) and a Motion to

Disqualify Counsel Andino Reynal as Defense Counsel (Doc. 645). Because Ms. Reulet’s




                                                1
        Case 5:14-cr-40005-DDC         Document 669        Filed 02/18/16      Page 2 of 3




counsel now have moved to withdraw, the Court denies both of the government’s motions as

moot.

        In Mr. Reynal and Mr. Bainum’s Motion to Withdraw, they represent that they have

discussed Mr. Reynal’s inability to continue the representation with Ms. Reulet and “given the

circumstances, she is unopposed to this motion.” Doc. 656. When the withdrawal motion was

filed on February 5, 2016, Ms. Reulet had not yet found new representation. D. Kan. Rule

83.5.5(a) (Withdrawal of Attorney Whose Client Will be Left Without Counsel) thus governed

this withdrawal motion, and this local rule required counsel to provide certain information to the

Court, e.g., a current mailing address and telephone number for the client. Before the Court

ruled on counsel’s Motion to Withdraw under that rule, Ms. Reulet provided the Court with

Form CJA 23. And the Court now has appointed Melanie Morgan as Ms. Reulet’s counsel under

18 U.S.C. § 3006A. See Doc. 666. Because Ms. Reulet now has other counsel, the Court need

not address the deficiencies of counsel’s Motion to Withdraw from representing Ms. Reulet.

Instead, the Court grants part of Mr. Reynal’s Motion to Withdraw but defers ruling on one

aspect of it so that the Court can resolve one remaining issue involving Mr. Reynal. Also, the

Court grants Mr. Bainum’s request to withdraw from this case.

        The Court finds that Mr. Reynal’s duties as Ms. Reulet’s counsel are complete now that

Ms. Morgan has assumed the role of Ms. Reulet’s counsel. But the Court nevertheless declines

to permit Mr. Reynal to withdraw at this time. On January 20, 2016, the Court issued an Order

to Show Cause, which directed Mr. Reynal to show good cause why he should not be ordered to

bear the juror costs incurred on the morning of trial. Mr. Reynal responded to the Court’s Order

on February 15, 2016. The Court will rule on juror costs in a separate order, and, in that order,

will address the remainder of Mr. Reynal’s Motion to Withdraw.



                                                 2
      Case 5:14-cr-40005-DDC          Document 669       Filed 02/18/16     Page 3 of 3




       IT IS THEREFORE ORDERED BY THE COURT THAT defendant Michelle

Reulet’s counsel’s unopposed Motion to Withdraw (Doc. 656) is granted in part and deferred in

part. The Court grants Mr. Bainum’s withdrawal as Ms. Reulet’s counsel. The Court defers its

ruling on Mr. Reynal’s withdrawal, which the Court will address in a subsequent order.

       IT IS FURTHER ORDERED THAT the government’s Motion to Appoint Conflict

Counsel and to Unseal Waiver Colloquies (Doc. 643) and Motion to Disqualify Counsel Andino

Reynal as Defense Counsel (Doc. 645) are denied as moot.

       IT IS SO ORDERED.

       Dated this 18th day of February, 2016, at Topeka, Kansas.


                                                   s/ Daniel D. Crabtree
                                                   Daniel D. Crabtree
                                                   United States District Judge




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